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                            EXHIBIT 9
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      EDITORIAL


      Methadone and Ketamine: Boosting Benefits and Still
      More to Learn
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              ethadone is a utilitarian opi-                                                    and oral opioid requirements, and
              oid with multiple applica-                                                        patient satisfaction with pain man-
      tions in anesthesiology, acute pain,                                                      agement for the first 3 postopera-
      cancer pain, sickle cell disease, and                                                     tive days.
      opioid use disorder, in both adults                                                           The results were unambiguous
      and children. Although methadone                                                          and clinically meaningful. Median
      was only modestly popular after                                                           postoperative intravenous hydro-
      initial introduction to anesthesia                                                        morphone use was statistically less
      practice in the early 1980s,1 subse-                                                      on day 1 after methadone/ket-
      quent “reintroduction” more than                                                          amine versus methadone alone (2.0
      20 yr later2 spurred growing use                                                          vs. 4.6 mg) and cumulatively over
      in the ensuing decade.3 Multiple                                                          72 h (2.7 vs. 5.8 mg). Postoperative
      clinical studies have demonstrated                                                        oral opioid use after methadone/
      the clinical benefits and thera-                                                          ketamine was also half that after
      peutic advantages of perioper-                                                            methadone alone (11 vs. 20 tab-
      ative long-duration methadone                                                             lets). Bolstering the significance of
      compared with shorter-duration            “Ketamine appears to have the differences in opioid require-
      opioids, for both inpatient and           ‘boosted’ the effects of ments, pain scores at rest, with
      outpatient surgery. Patients receiv-                                                      coughing, and with movement
      ing a single intraoperative dose of methadone…”                                           were significantly one-third lower
      methadone, compared with short-                                                           (3 to 4 vs. 5 to 6) in the metha-
      er-duration opioids, report less pain, use less opioid, and   done/ketamine group at nearly every assessment time over
      have greater satisfaction with pain relief. Moreover, these   72 h. Adverse events (sedation, nausea, vomiting, dizziness,
      advantages seem to persist for weeks or months after sur-     hallucinations, hypoxia, hypoventilation) were not different
      gery.4,5 Indeed, methadone is aptly described as an “opi-     between groups. Thus, the addition of ketamine to meth-
      oid-sparing opioid.”                                          adone was highly effective, resulting in half the opioid use
          Compared with other opioids, less is known about meth-    and one-third less pain compared with methadone alone.
      adone in the context of perioperative drug combinations.          The magnitude of these effects was unusually large, clin-
      In this issue of Anesthesiology, Murphy et al.6 report a      ically relevant, and thought-provoking. Ketamine appears
      clinical trial that compared the combination of methadone     to have “boosted” the effects of methadone in a manner
      plus ketamine to methadone alone in patients undergoing       analogous to the “boosting” of antiretrovirals by coadmin-
      elective spine surgery. One hundred thirty patients under-    istering low doses of ritonavir—a protease inhibitor with
      going mainly single-level lumbar fusion received intraoper-   only modest effects when used alone.
      ative methadone (0.2 mg/kg ideal body weight) and either          The study by Murphy et al.6 is remarkable for several
      placebo or ketamine (0.3 mg · kg · h intraoperatively,
                                             −1  −1
                                                                    reasons. First, it actually evaluated a simple, practical, multi-
      then 0.1 mg · kg−1 · h−1 for the next 48 h), along with sevo- modal anesthetic regimen with a design enabling the test-
      flurane, propofol, and remifentanil. The primary outcome      ing of a specific hypothesis, rather than testing a complex
      was intravenous hydromorphone use on postoperative day        “bundle,” which may inform on the aggregate but not the
      1, and the hypothesis was that adding ketamine to metha-      value of specific components. Multimodal analgesia is a
      done would result in less hydromorphone use. Secondary        contemporary centerpiece of the perioperative protocol
      outcomes included pain scores, cumulative intravenous         banquet, and such protocols are widely espoused and often

      Image: J. P. Rathmell.
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      Carolina (E.D.K.); the Anesthesiology Service, Veterans Affairs Palo Alto Health Care System, Palo Alto, California (J.D.C.); and the Department of Anesthesiology, Stanford University
      School of Medicine, Stanford, California (J.D.C.).
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                                                                                                                             Editorial


   enthusiastically embraced. While perhaps sometimes ben-            or pain after 3 and 24 months but greater sedation in the
   eficial, they are also insufficiently tested and are unfortu-      postanesthesia care unit.11,15 Thus, the magnitude of the dif-
   nately often found less effective than believed or desired         ferences in opioid use and pain when combining ketamine
   when they are finally formally evaluated.7 Moreover, in            with methadone, compared with methadone alone,6 was far
   addition to opioid consumption, the methadone–ketamine             greater than when combining ketamine with other opioids.
   trial evaluated the important and patient-centric outcomes:        This contrast is remarkable.
   pain and unwanted side effects. There has been a switch                The third notable aspect of the report by Murphy et




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   from trials emphasizing pain relief as a primary outcome,          al.6 is, simply, the question of why, or how, did this happen?
   to quantifying opioid consumption as a goal unto itself as         What is so different compared with the corpus of decades
   a primary or even sole outcome. This may reflect the ease,         of previous ketamine studies? The most obvious answer is
   low expense, and objectivity of obtaining drug admin-              methadone.The results reported herein echo those of a pre-
   istration data (retrospective review of electronic medical         vious small study in multilevel lumbar spine surgery using
   records rather than hiring research staff to query patients        intraoperative methadone and methadone patient-con-
   about pain) or misattribution of the nation’s opioid crisis to     trolled analgesia, plus either placebo or intraoperative ket-
   immediate postoperative opioid prescribing. Nevertheless,          amine infusion and ketamine added to patient-controlled
   opioid sparing by itself is not likely meaningful to patients      analgesia.16 Patients receiving ketamine used 79% less
   unless accompanied by improved patient-centric outcomes            cumulative 48 h postoperative opioid, a very large treatment
   like better pain relief or the sparing of undesirable opi-         effect. What then is different about ketamine plus metha-
   oid-related side effects. Furthermore, the investigation by        done compared with other opioids?
   Murphy et al.6 was well designed and meticulously con-                 One simple explanation is the substantially slower elim-
   ducted and reported—all at a private hospital. The point is        ination of methadone compared with other opioids, so that
   that high-quality clinical research is not the exclusive prov-     the additive or synergistic interaction lasts longer. However,
   ince of tertiary care academic institutions—a message that         most studies freely allow postoperative opioids, so that
   we hope will be widely heard and heeded.                           explanation seems unlikely. Another possible explanation
       Second, the magnitude of the effect of adding ket-             is the pharmacologic difference between methadone and
   amine to an opioid was substantially greater than com-             other opioids. Methadone is a µ-opioid receptor agonist
   monly reported. Much enthusiasm attends to ketamine                and an N-methyl-d-asparate (NMDA) receptor antagonist,
   use, although enthusiasm may exceed reported benefits.8            whereas most other opioids are essentially pure µ agonists.
   A review of the initial decades of ketamine use for post-          Some postulate that NMDA effects may contribute to the
   operative pain across a range of surgical procedures found         unique clinical properties of methadone. Nonetheless, clini-
   mixed evidence for and against better analgesia and opioid         cal methadone concentrations after 0.2 mg/kg (less than 0.2
   sparing,9 a finding recapitulated a decade later.10 The most       µM) are much lower than the IC50 or Ki of methadone for
   recent comprehensive review,11 encompassing 130 stud-              the NMDA receptor (3 to 10 µM).17 Moreover, methadone
   ies of various surgical procedures with more than 8,300            analgesia is stereoselective, but NMDA receptor binding
   patients, evaluating ketamine given before, during, or after       is not.18 Thus, the unique methadone–ketamine interac-
   surgery (predominantly 0.12 to 0.3 mg · kg−1 · h−1) found          tion may not work through the NMDA receptor effects
   that compared with placebo, postoperative opioid use over          of methadone. Methadone also interacts with norepineph-
   48 h was less (median 54 vs. 67 mg), and pain at rest or with      rine and serotonin reuptake systems at concentrations more
   movement after 24 and 48 h was less (6 mm with movement            closely resembling those achieved clinically.19 Whether this
   on a 100-mm scale; median, 31 vs. 37 mm). Nevertheless,            mediates the methadone–ketamine interaction is unknown.
   the 20% less opioid use and the 15 to 20% less pain were               Ketamine is a noncompetitive NMDA receptor antag-
   statistically significant but considered below the clinically      onist, and analgesia at subanesthetic concentrations is
   important difference of 30%.11 Evaluations focusing spe-           attributed to NMDA antagonism in the brain and spinal
   cifically on spine surgery found similarly marginal results.       cord. Based on ketamine pharmacokinetics,20 the bolus and
   Ketamine addition had minimal or no effect on morphine             infusion regimen used by Murphy et al.6 would achieve
   use, pain, or opioid side effects after pediatric sciolosis sur-   plasma concentrations of approximately 0.4 µM, which is
   gery.12,13 A meta-analysis found overall benefit but mixed         in the range of the IC50 or Ki for the NMDA receptor (0.2
   evidence for better analgesia and opioid sparing with ket-         to 1 µM),21 and known analgesic concentrations (0.4 to
   amine addition.14 Interestingly, the one study (a statistical      0.7 µM).22 Perhaps the NMDA-specific effects of ketamine
   outlier) that showed the greatest benefit, and influenced the      and methadone might be additive, but this appears unlikely
   overall result, was with methadone. Most recently, a trial         based on the above calculations.
   of intraoperative S-ketamine (0.5 mg/kg bolus plus 0.12 or             Another potential explanation is that analgesia from
   0.6 mg · kg−1 · h−1 infusion) versus placebo in spine surgery      methadone alone was simply insufficient and was aug-
   found no difference in the primary outcome of cumulative           mented by postoperative ketamine. This parsimonious
   48-h opioid consumption or in time-weighted average pain           explanation is certainly possible because the methadone


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  dose (0.2 mg/mg) was comparatively low (20 mg is a more            Research Support
  conventional dose, particularly for spine surgery), as was
                                                                     Supported by grant No. R01 DA042985 from the National
  evidenced by the need for additional intraoperative opioid
                                                                     Institutes of Health, Bethesda, Maryland (to Dr. Kharasch)
  (fentanyl, remifentanil, and hydromorphone).The influence
                                                                     and grant No. I01 BX000881 from the Department of
  of ketamine addition to a higher methadone dose, or per-
                                                                     Veterans Affairs, Washington, D.C. (to Dr. Clark).
  haps the effect of a higher methadone dose alone, awaits
  exploration.
                                                                     Competing Interests




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      Another possibility explaining the ketamine–metha-
  done advantage is the specific patient population and type         Dr. Clark has a consulting agreement with Teikoku Pharma
  of pain. Ketamine and methadone are believed to be more            USA (San Jose, California). Dr. Kharasch declares no com-
  effective than other opioids for neuropathic pain, even if the     peting interests.
  clinical data are presently not compelling.23,24 Neuropathic
  contributions to postoperative pain are poorly understood,         Correspondence
  although more than 13% of postoperative patients having a          Address correspondence to Dr. Kharasch: evan.kharasch@
  mix of surgeries had pain of a neuropathic nature,25 and the       duke.edu
  incidence of preexisting neuropathic pain was nearly 50%
  in spine surgery patients.26 The high prevalence of chronic
  postoperative neuropathic pain suggests that surgical nerve        References
  damage is common and may also contribute to immediate
                                                                     1.   Gourlay GK,Wilson PR, Glynn CJ: Pharmacodynamics
  postoperative pain.27 Interestingly, the ketamine–metha-
                                                                          and pharmacokinetics of methadone during the periop-
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                                                                          erative period. Anesthesiology 1982; 57:458–67
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                                                                     2.   Kharasch ED: Intraoperative methadone: Rediscovery,
  opioids.28
                                                                          reappraisal, and reinvigoration? Anesth Analg 2011;
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  approximately 3 mg of remifentanil. Intraoperative remifen-        4.   Komen H, Brunt LM, Deych E, Blood J, Kharasch ED:
  tanil in large doses is linked to increased postoperative pain          Intraoperative methadone in same-day ambulatory
  and opioid requirements.29 Remifentanil-induced hyperal-                surgery: A randomized, double-blinded, dose-finding
  gesia can be lessened by a simultaneous ketamine infusion.30            pilot study. Anesth Analg 2019; 128:802–10
  Moreover, opioid-induced hyperalgesia is measurable in             5.   Murphy GS, Avram MJ, Greenberg SB, Shear TD,
  patients taking opioids for chronic pain,31 and half of the             Deshur MA, Dickerson D, Bilimoria S, Benson
  patients in the methadone–ketamine study were taking pre-               J, Maher CE, Trenk GJ, Teister KJ, Szokol JW:
  operative opioids.6 Thus, ketamine may have exerted part of             Postoperative pain and analgesic requirements in the
  its effects not by directly providing analgesia but indirectly          first year after intraoperative methadone for com-
  by mitigating opioid (intraoperative remifentanil or chronic            plex spine and cardiac surgery. Anesthesiology 2020;
  preoperative)–induced sensitization. Interestingly, meth-               132:330–42
  adone too may resolve opioid-induced hyperalgesia and              6.   Murphy GS, Avram MJ, Greenberg SB, Benson
  reduce opioid requirements.32 Thus, like ketamine, meth-                J, Bilimoria S, Maher CE, Teister K, Szokol JW:
  adone could enhance postoperative pain control in part by               Perioperative methadone and ketamine for post-
  reducing opioid-induced hyperalgesia, an effect not likely              operative pain control in spinal surgical patients: A
  provided by other opioids.                                              randomized, double-blind, placebo-controlled trial.
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  opioids. Such methadone “boosting” with ketamine may be            8.   Schwenk ES, Viscusi ER, Buvanendran A, Hurley RW,
  clinically useful, and we are also left with more questions             Wasan AD, Narouze S, Bhatia A, Davis FN, Hooten
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  oid hyperalgesia), methadone dose-related, specific to spine            agement from the American Society of Regional
  surgery, or other? All are good and important questions to              Anesthesia and Pain Medicine, the American Academy
  explore and answer.                                                     of Pain Medicine, and the American Society of

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